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                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF FLORIDA
                                                      MIAMI DIVISION

                                                      CASE NO.: 1:21-cv-20862-BB

 MILLENNIUM FUNDING, INC., et al.,

                     Plaintiffs,

 v.

 1701 MANAGEMENT, LLC DBA
 LIQUIDVPN, et al.,

                     Defendants.


                                                  WRIT OF GARNISHMENT


         YOU ARE COMMANDED to summon the garnishee, Morgan Stanley, to serve an answer to this writ on KERRY

CULPEPPER, plaintiffs’ attorney, whose address is, 75-170 HUALALAI ROAD, SUITE B204, KAILUA KONA, HI

96740 within 20 days after service on the garnishee, exclusive of the day of service, and to file the original with the clerk of

this court either before service on the attorney or immediately thereafter, stating whether the garnishee is indebted to

Defendants 1701 MANAGEMENT LLC d/b/a LIQUIDVPN, AUH2O LLC AND/OR CHARLES MUSZYNSKI a/k/a

FREDERICK DOUGLAS, at the time of the answer or was indebted at the time of service of the writ, or at any time between

such times, and in what sum and what tangible and intangible personal property of the defendant the garnishee is in

possession or control of at the time of the answer or had at the time of service of this writ, or at any time between such

times, and whether the garnishee knows of any other person indebted to the defendants or who may be in possession or

control of any of the tangible and intangible property of the defendants. The amount set in plaintiff’s motion is

$15,430,960.78.

                                                                                        CLERK OF COURT


        Jul 20, 2022
Date:______________                                                              Esperanza Buchhorst
                                                                              _____________________
                                                                                        Signature of Clerk or Deputy Clerk



Attachment: Fla. Stat. §77.041 Notice to individual defendant for claim of exemption from garnishment; procedure for hearing.
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                  NOTICE TO DEFENDANT OF RIGHT AGAINST GARNISHMENT
                        OF WAGES, MONEY, AND OTHER PROPERTY

       The Writ of Garnishment delivered to you with this Notice means that wages, money, and other
property belonging to you have been garnished to pay a court judgment against you. HOWEVER, YOU MAY
BE ABLE TO KEEP OR RECOVER YOUR WAGES, MONEY, OR PROPERTY. READ THIS NOTICE
CAREFULLY.

       State and federal laws provide that certain wages, money, and property, even if deposited in a bank,
savings and loan, or credit union, may not be taken to pay certain types of court judgments. Such wages,
money and property are exempt from garnishment. The major exemptions are listed below on the form for
Claim of Exemption and Request for Hearing. This list does not include all possible exemptions. You should
consult a lawyer for specific advice.

IF AN EXEMPTION FROM GARNISHMENT APPLIES TO YOU AND YOU WANT TO KEEP YOUR
WAGES, MONEY, AND OTHER PROPERTY FROM BEING GARNISHED, OR TO RECOVER
ANYTHING ALREADY TAKEN, YOU MUST COMPLETE A FORM FOR CLAIM OF EXEMPTION
AND REQUEST FOR HEARING AS SET FORTH BELOW AND HAVE THE FORM NOTARIZED. IF
YOU HAVE A VALID EXEMPTION, YOU MUST FILE THE FORM WITH THE CLERK’S OFFICE
WITHIN 20 DAYS AFTER THE DATE YOU RECEIVED THIS NOTICE OR YOU MAY LOSE
IMPORTANT RIGHTS. YOU MUST ALSO MAIL OR DELIVER A COPY OF THIS FORM TO THE
PLAINTIFF OR THE PLAINTIFF’S ATTORNEY AND THE GARNISHEE OR THE GARNISHEE’S
ATTORNEY AT THE ADDRESSES LISTED ON THE WRIT OF GARNISHMENT. NOTE THAT THE
FORM REQUIRES YOU TO COMPLETE A CERTIFICATION THAT YOU MAILED OR HAND
DELIVERED COPIES TO THE PLAINTIFF OR PLAINTIFF’S ATTORNEY AND THE GARNISHEE OR
GARNISHEE’S ATTORNEY.

        If you request a hearing, it will be held as soon as possible after your request is received by the court.
The plaintiff or the plaintiff’s attorney must file any objection within 8 business days if you hand delivered to
the plaintiff or the plaintiff’s attorney a copy of the form for Claim of Exemption and Request for Hearing or,
alternatively, 14 business days if you mailed a copy of the form for claim and request to the plaintiff or
plaintiff’s attorney. If the plaintiff or the plaintiff’s attorney files an objection to your Claim of Exemption and
Request for Hearing, the clerk will notify you and the other parties of the time and date of the hearing. You
may attend the hearing with or without an attorney. If the plaintiff or plaintiff’s attorney fails to file an
objection, no hearing is required, the writ of garnishment will be dissolved and your wages, money, or property
will be released.

IF YOU HAVE A VALID EXEMPTION, YOU SHOULD FILE THE FORM FOR CLAIM OF EXEMPTION
IMMEDIATELY TO KEEP YOUR WAGES, MONEY, OR PROPERTY FROM BEING APPLIED TO THE
COURT JUDGMENT. THE CLERK CANNOT GIVE YOU LEGAL ADVICE. IF YOU NEED LEGAL
ASSISTANCE, YOU SHOULD SEE A LAWYER. IF YOU CANNOT AFFORD A PRIVATE LAWYER,
LEGAL SERVICES MAY BE AVAILABLE. CONTACT YOUR LOCAL BAR ASSOCIATION OR ASK
THE CLERK’S OFFICE ABOUT ANY LEGAL SERVICES PROGRAM IN YOUR AREA.
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Case Number:                                               Division:

Case Style:                                               vs

                      CLAIM OF EXEMPTION AND REQUEST FOR HEARING

I claim exemptions from garnishment under the following categories as checked:

        1.     Head of family wages. (You must check a or b below.)
               a.      I provide more than one-half of the support for a child or other dependent
                       and have net earnings of $750.00 or less per week.
               b.      I provide more than one-half of the support for a child or other dependent,
                       have net earnings of more than $750.00 per week, but have not agreed in
                       writing to have my wages garnished.
        2.     Social Security benefits.
        3.     Supplemental Security Income benefits.
        4.     Public assistance (welfare).
        5.     Workers’ compensation.
        6.     Reemployment assistance or unemployment compensation.
        7.     Veterans’ benefits.
        8.     Retirement or profit-sharing benefits or pension money.
        9.     Life insurance benefits or cash surrender value of a life insurance policy or
               proceeds of annuity contract.
        10.    Disability income benefits.
        11.    Prepaid College Trust Fund or Medical Savings Account.
        12.    Other exemptions as provide by law.
                                                                                                   (explain)

I request a hearing to decide the validity of my claim.        Notice of the hearing should be given to me at:
Address:

Telephone number:

I CERTIFY UNDER OATH AND PENALTY OF PERJURY that a copy of this CLAIM OF EXEMPTION
AND REQUEST FOR HEARING has been furnished by (circle one) United States mail or hand delivery on
                               (insert date) to:


(Insert names and addresses of Plaintiff or Plaintiff’s attorney and of Garnishee or Garnishee’s attorney to
whom this document was furnished)

I FURTHER CERTIFY UNDER OATH AND PENALTY OF PERJURY that the statements made in this
request are true to the best of my knowledge and belief.



Defendant’s signature:

Date:
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STATE OF FLORIDA
COUNTY OF _________

Sworn and subscribed to before me this                day of           , 20      , by


(name of person making statement)

Notary Public/Deputy Clerk

Personally Known         or Produced identification
Type of Identification produced


Notary signature


Print Name
